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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE
                                   Bangor Division

 JANE DOES 1–6, JOHN DOES 1–3,                    )
 JACK DOES 1–1000, JOAN DOES 1–1000,              )
                                                  )
                       Plaintiffs,                )
 v.                                               ) Case No. ___________________
                                                  )
 JANET T. MILLS, in her official capacity as      )
 Governor of the State of Maine,                  )
 JEANNE M. LAMBREW, in her official capacity )
 as Commissioner of the Maine Department of       )
 Health and Human Services,                       )
 NIRAV D. SHAH, in his official capacity as       )
 Director of the Maine Center for Disease Control )
 and Prevention,                                  )
 MAINEHEALTH,                                     )
 GENESIS HEALTHCARE OF MAINE, LLC,                )
 GENESIS HEALTHCARE, LLC,                         )
 NORTHERN LIGHT HEALTH FOUNDATION, )
 MAINEGENERAL HEALTH,                             )
                                                  )
                       Defendants.                )

     PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER AND
  PRELIMINARY INJUNTION WITH INCORPORATED MEMORANDUM OF LAW

       Pursuant to Fed. R. Civ. P. 65 and L.R. 7, Plaintiffs, JANE DOES 1–6, JOHN DOES 1–3,

JACK DOES 1–1000, and JOAN DOES 1–1000, hereby move this Court for a temporary

restraining order (TRO) and preliminary injunction (PI) against Defendants, JANET T. MILLS, in

her official capacity as Governor of the State of Maine, JEANNE M. LAMBREW, in her official

capacity as Commissioner of the Maine Department of Health and Human Services, NIRAV D.

SHAH, in his official capacity as Director of the Maine Center for Disease Control and Prevention,

MAINEHEALTH, GENESIS HEALTHCARE OF MAINE, LLC, GENESIS HEALTHCARE,

LLC, NORTHERN LIGHT HEALTH FOUNDATION, and MAINEGENERAL HEALTH, as set

forth below and in Plaintiffs’ contemporaneously filed Verified Complaint. In the alternative,

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should this Court deny Plaintiffs’ motion, Plaintiffs also move this Court for an injunction pending

appeal under Fed. R. App. P. 8.

                           MEMORANDUM OF LAW IN SUPPORT

       To obtain a TRO or PI, Plaintiffs must demonstrate that they have a strong likelihood of

success on the merits, that they will suffer irreparable injury absent the order, that the balance of

the equities favors the order, and that the public interest is served by the Court’s issuing the order.

See Bl(a)ck Tea Soc’y v. Boston, 378 F.3d 8, 11 (1st Cir. 2004); Bourgoin v. Sebelius, 928 F. Supp.

2d 258, 267 (D. Me. 2013) (“The standard for granting a temporary restraining order is the same

as for a preliminary injunction.”). Plaintiffs easily satisfy each of these elements factually and

legally. (Plaintiffs hereby incorporate by reference the allegations of the Verified Complaint, filed

contemporaneously herewith, as their statement of facts in support of this motion.)

I.     PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR CLAIM
       THAT DEFENDANTS MUST FOLLOW FEDERAL LAW AND GRANT
       RELIGIOUS ACCOMMODATIONS AND EXEMPTIONS FROM THE
       GOVERNOR’S COVID-19 VACCINE MANDATE.

       A.      Defendants’ Refusal to Recognize the Supremacy Clause’s Mandate That
               State Law Align With Federal Law Is Plainly Unlawful.

       As a matter of black letter law, federal law and the United States Constitution are supreme

over any contrary Maine statute, edict, or executive decree from the Governor, and Maine cannot

override, nullify, or violate federal law. See U.S. Const. Art. VI, cl. 2 (“This Constitution, and the

Laws of the United States which shall be made in Pursuance thereof; and all Treaties made, or

which shall be made, under the Authority of the United States, shall be the supreme Law of the

Land; and the Judges in every State shall be bound thereby, any Thing in the Constitution or Laws

of any State to the Contrary notwithstanding.”). In fact, it is an elementary principle of the Nation’s

founding charter that the laws of the federal government constitute the laws appliable in the states.

Haywood v. Drown, 556 U.S. 729, 734 (2009) (“This Court has long made clear that federal
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law is as much the law of the several States as are the laws passed by their legislatures.”

(emphasis added)). For this Court and Defendants in this case, the Supremacy Clause “provides a

rule of decision for determining whether federal or state law applies in a particular situation,”

Kansas v. Garcia, 140 S. Ct. 791, 801 (2020), and where—as here—federal law “imposes

restrictions [and] confers rights on private actors,” and Maine law “imposes restrictions that

conflict with the federal law,” “the federal law takes precedence and the state law is preempted.”

Murphy v. NCAA, 138 S. Ct. 1461, 1480 (2018) (emphasis added). Indeed, “[i]t is a familiar and

well-established principle that the Supremacy Clause . . . invalidates state laws that interfere

with, or are contrary to, federal law. Under the Supremacy Clause . . . state law is nullified

to the extent that it actually conflicts with federal law.” Hillsborough Cnty. v. Automated Med.

Labs., Inc., 471 U.S. 707, 712–13 (1985) (emphasis added) (cleaned up).

       Here, Defendants have purported to exclude themselves from the requirements and

mandates of federal law. There can be no dispute that Title VII of the Civil Rights Act prohibits

Defendants from discriminating against Plaintiffs on the basis of their sincerely held religious

beliefs. 42 U.S.C. § 2000e-2(a) (“It shall be an unlawful employment practice for an employer . .

. to fail or refuse to hire or to discharge any individual, or otherwise to discriminate against any

individual with respect to his compensation, terms, conditions, or privileges of employment

because of such individual’s . . . religion . . . .”). And, Defendants have a duty under Title VII to

provide religious exemptions and accommodations to those with sincerely held religious

objections to the COVID-19 Vaccine Mandate. Yet, when presented with requests from Plaintiffs

outlining their sincerely held religious objections to the mandate, Defendant employers have all

issued blanket denials of such exemptions, refused to even consider or evaluate such requests,

refused to grant any reasonable accommodation for Plaintiffs’ sincerely held religious beliefs, and



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threatened to terminate Plaintiffs for their failure to violate their conscience by complying with the

Governor’s mandate. (V. Compl. ¶¶ 1, 5, 82–95.)

       As detailed in Plaintiffs’ Verified Complaint, Defendants are callously and unconscionably

ignoring federal law and its demand that sincerely held religious belief be protected and

accommodated. (Id.) Specifically, Plaintiffs are receiving the following responses to their requests

for religious exemption and accommodation:

       •       “I can share MaineHealth’s view that federal law does not supersede state
               law in this instance.”

       •       “[W]e are no longer able to consider religious exemptions for those who
               work in the state of Maine.”

       •       “All MaineGeneral employees will have to be vaccinated against
               COVID-19 by Oct. 1 unless they have a medical exemption. The mandate
               also states that only medical exemptions are allowed, no religious
               exemptions are allowed.”

       •       “Allowing for a religious exemption would be a violation of the state
               mandate issued by Governor Mills. So, unfortunately, that is not an option
               for us.”

(V. Compl. ¶ 1, Exs. A–C (emphasis added).)

       While Defendants might be forgiven for articulating such responses if Plaintiffs were

raising them only under Maine law, Defendants are fully aware of the fact that Plaintiffs were

seeking to invoke the protections of federal law and nevertheless refused to accept the supremacy

of such federal protections. Indeed, Jane Doe 1 informed Defendant MaineHealth that she was

seeking her accommodation under Title VII (V. Compl. ¶ 85), yet her request was still rejected

upon the premise that “federal law does not supersede state law in this instance.” (V. Compl.

¶ 87 (emphasis added).) In fact, Defendants have flatly refused to even consider religious

exemption requests. (See V. Compl. ¶¶ 84, 97 (“You submitted a religious exemption, your

request is unable to be evaluated at this time.” (emphasis added)).) MaineGeneral’s response

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was similar, in that it noted that federal law provides no refuge for Plaintiffs’ requests for religious

exemption because employers in Maine “must comply with Governor Mills’ COVID-19

vaccination mandate [and] no religious exemptions are allowed.” (V. Compl. ¶ 93 (emphasis

added).)

       For Defendants, it is as if the protections for religious beliefs demanded by the First

Amendment (for the Governor) and Title VII (for employers in Maine) simply do not exist. But

Defendants’ willful disregard of federal law provides no refuge for their unconstitutional and

unlawful denials of Plaintiffs’ requests for accommodation. For, “as stated [nearly two centuries

ago], the Supremacy Clause invalidates state laws that interfere with or are contrary to the

laws of congress.” Chicago & N.W. Transp. Co. v. Kalo Brick Tile Co., 450 U.S. 311, 317 (1981)

(emphasis added) (quoting Gibbons v. Ogden, 22 U.S. 1, 211 (1824)). The constitutional structure

of the Republic demands that the State, including Maine, comply with and adhere to the demands

of federal law. Defendants have ignored this structure.

       B.      The Governor’s COVID-19 Vaccine Mandate Violates the Free Exercise
               Clause of the First Amendment.

               1.      Imposing the Governor’s Mandate on John Doe 1’s practice violates
                       the Free Exercise Clause.

       Plaintiff John Doe 1 is a licensed healthcare provider in Maine, operating his own practice

with employees who all have sincerely held religious objections to the Governor’s COVID-19

Vaccine Mandate. (V. Compl. ¶ 16.) John Doe 1 has sincerely held religious objections to

accepting or receiving the COVID-19 vaccines and has sincerely held religious beliefs that he is

to honor the sincerely held religious beliefs of his employees who object to the COVID-19

vaccines. (Id.) John Doe 1 has been threatened with closure of his practice and loss of his business

license for considering and granting religious accommodations and exemptions for his employees.



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(Id.) And, there is no question that the Governor has threatened John Doe 1 with the penalty of the

loss of his license for failure to comply with the Governor’s mandate. (V. Compl. ¶ 43 (“[t]he

organizations to which this requirement applies must ensure that each employee is vaccinated, with

this requirement being enforced as a condition of the facilities’ licensure.”).)

       The Governor’s mandate and its threat of revocation of John Doe 1’s license for failure to

comply is almost identical to the mandates struck down by the Supreme Court in Burwell v. Hobby

Lobby Stores, Inc., 573 U.S. 682 (2014). There, the federal government mandated that Hobby

Lobby (a privately held corporation with sincerely held religious beliefs against abortion) provide

insurance coverage for its employees to receive abortion-inducing drugs and contraceptives. 573

U.S. at 690–91. There, the Court noted that the plaintiffs—as here—

       have a sincere religious belief that life begins at conception. They therefore object
       on religious grounds to providing health insurance that covers methods of birth
       control that, as HHS acknowledges . . . may result in the destruction of an embryo.
       By requiring the Hahns and Greens and their companies to arrange for such
       coverage, the HHS mandate demands that they engage in conduct that
       seriously violates their religious beliefs.

Id. at 720 (emphasis added). Here, too, the Governor’s mandate imposes a substantial burden on

Plaintiffs’ religious beliefs. In fact, John Doe 1 must either mandate that his employees receive a

vaccine they find objectionable under their sincerely held religious beliefs, or deprive his

employees of their abilities to feed their families. Such an unconscionable choice is clearly a

substantial burden. Indeed, the First Amendment can hardly be thought to countenance as “a

tolerable result to put a family-run business to the choice of violating their sincerely held religious

beliefs or making all of their employees lose their existing [employment].” Id. at 722.

       There, as here, the Court was faced with a government mandate that conflicted with the

sincerely held religious beliefs of the plaintiffs. There, as here, compliance with the government’s

mandate imposed a substantial burden on the plaintiffs’ sincerely held religious beliefs. There, as

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here, the government’s restrictions on the plaintiffs’ sincerely held religious beliefs were subject

to (and failed) strict scrutiny. Because the Governor’s COVID-19 Vaccine Mandate is not neutral

or generally applicable, and provides for individualized medical exemptions but not religious, the

mandate is subject to strict scrutiny, and Defendants utterly fail to carry their burden under that

standard. (See infra.)

               2.        The Governor’s refusal to permit accommodation of sincerely held
                         religious beliefs violates the Free Exercise Clause.

       In Tandon v. Newsom, the Supreme Court held that the government violates the First

Amendment “whenever it treats any comparable activity more favorably than religious

exercise.” 141 S. Ct. 1294, 1296 (2021) (bold emphasis added). Here, that is plainly what

Defendants have done. The government Defendants have mandated that individuals who are

employed in the healthcare industry accept and receive a COVID-19 vaccine. No choice has been

given to religious adherents, yet nonreligious exemptions and accommodations are readily

available.

       And, there is no dispute about the two separate categories of exemptions the Governor has

created. Plaintiffs have been informed that while religious exemptions are per se barred in the State

of Maine, the more favored medical category of exemptions is alive and well in Maine. (V. Compl.

¶¶ 96–103.) Specifically, in its response to Jane Doe 1, Defendant MaineHealth has indicated it is

perfectly willing to accept and grant medical exemptions but will not allow religious exemptions.

Specifically, MaineHealth told Jane Doe 1:

       You submitted a religious exemption, your request is unable to be evaluated due to
       a change in the law. Your options are to receive vaccination or provide
       documentation for a medical exemption to meet current requirements for continued
       employment.




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(V. Compl. ¶ 97 and Exhibit A at 2.) As MaineHealth informed Jane Doe 1, though her request for

a religious exemption was denied, she was invited to submit a request for a medical exemption.

(V. Compl. ¶ 99 (“If you seek an accommodation other than a religious exemption from the state

mandated vaccine, please let us know.” (emphasis added).)

                3.      The Governor’s discriminatory mandate fails strict scrutiny.

        Because the Governor’s COVID-19 Vaccine Mandate is neither neutral nor generally

applicable, and indeed because it singles out religious objectors for disparate treatment, it must

satisfy strict scrutiny, meaning the restrictions must be supported by a compelling interest and

narrowly tailored. Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 62, 67 (2000);

Calvary Chapel Dayton Valley v. Sisolak, 982 F.3d 1228, 1233 (9th Cir. 2020) (“disparate

treatment of religion triggers strict scrutiny”). “That standard is not watered down; it really means

what it says.” Tandon v. Newsom, 141 S. Ct. 1294, 1298 (2021). This is “the most demanding test

known to constitutional law,” City of Boerne v. Flores, 521 US. 507, 534 (1997), which is rarely

passed. See Burson v. Freeman, 504 U.S. 191, 200 (1992) (“[W]e readily acknowledge that a law

rarely survives such scrutiny . . . .”). This is not that rare case.

        Whatever interest the Governor claims, she cannot show the orders are the least restrictive

means of protecting that interest. And it is the Governor’s burden to make the showing because

“the burdens at the preliminary injunction stage track the burdens at trial.” Gonzales v. O Centro

Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 429 (2006). “As the Government bears the

burden of proof on the ultimate question of . . . constitutionality, [Plaintiffs] must be deemed

likely to prevail unless the Government has shown that [their] proposed less restrictive

alternatives are less effective than [the mandate].” Ashcroft v. ACLU, 542 U.S. 656, 666 (2004)

(emphasis added). Under this standard, “[n]arrow tailoring requires the government to demonstrate



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that a policy is the ‘least restrictive means’ of achieving its objectives.” Agudath Israel of Am. v.

Cuomo, 983 F.3d 620, 633 (2d Cir. 2020) (quoting Thomas v. Review Bd. of Ind. Emp’t Sec. Div.,

450 U.S. 707, 718 (1981)).

       To meet this burden, the government must show it “seriously undertook to address the

problem with less intrusive tools readily available to it,” meaning that it “considered different

methods that other jurisdictions have found effective.” McCullen v. Coakley, 573 U.S. 464,

494 (2014) (emphasis added). See also Agudath Israel, 983 F.3d at 633 (same). And the Governor

must “show either that substantially less-restrictive alternatives were tried and failed, or that

the alternatives were closely examined and ruled out for good reason,” Bruni v. City of

Pittsburgh, 824 F.3d 353, 370 (3d Cir. 2016) (emphasis added), and that “imposing lesser burdens

on religious liberty ‘would fail to achieve the government’s interest, not simply that the chosen

route was easier.’” Agudath Israel, 983 F.3d at 633 (quoting McCullen, 573 U.S. at 495).

       Here, for 18 months Plaintiffs have risen every morning, donned their personal protective

equipment (PPE), and fearlessly marched into hospitals, doctors’ offices, emergency rooms,

operating rooms, and examination rooms with one goal: to provide quality healthcare to those

suffering from COVID-19 and every other illness or medical need that confronted them. They did

it bravely and with honor. They answered the call of duty to provide healthcare to the folks who

needed it the most and worked tirelessly to ensure that those ravaged by the pandemic were given

appropriate care. For 18 months PPE and other protocols have been sufficient to protect both

Plaintiffs and their patients. Yet now, Defendants claim that such measures do not suffice. The

Governor tried nothing else. She went straight to a COVID-19 Vaccine Mandate for healthcare

workers and purported to remove any protections for their sincerely held religious beliefs. That

plainly fails strict scrutiny, as the other, less restrictive alternatives—including alternatives that



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the MCDC still says are “proven to be one of the most significant, effective, and easiest ways

to reduce the spread of COVID-19,” (V. Compl. ¶ 78 (emphasis added))—are available and

protect Defendants’ interests while still preserving Plaintiffs’ rights under federal law.

       C.      Defendants Have Conspired to Violate Plaintiffs’ Civil Rights.

       Section 1985(3) prohibits Defendants from conspiring to deprive Plaintiffs of the equal

protection of the laws or to deprive them of other constitutionally protected liberties. 42 U.S.C.

§ 1985(3). Such claims include a prohibition on Defendants’ conspiring together to deprive

Plaintiffs of their constitutionally protected right to the free exercise of religion under the First

Amendment. See, e.g., United Bhd. of Carpenters & Joiners of Am. Local 610, AFL-CIO v. Scott,

463 U.S. 825, 830–31 (1983) (holding that a “conspiracy to infringe First Amendment rights is [a]

violation of § 1985(3) [if] it is proved that the state is involved in the conspiracy”); Perez-Sanchez

v. Public Bldg. Auth., 531 F.3d 104, 109 (1st Cir. 2008) (noting that § 1985(3) claims extend to

“members of recognized classifications such as race, sex, religion, or national origin” (citing

Brown v. Reardon, 770 F.2d 896, 906 (10th Cir. 1985)); Palm v. Sisters of Charity Health Sys.,

No. 07-120-B-W, 2008 WL 2229764, *2 (D. Me. May 28, 2008) (noting that conspiracies to

deprive a plaintiff of his First Amendment rights are actionable if state action is involved).

       Here, Defendants have plainly entered into an agreement to deprive Plaintiffs of their

constitutionally protected rights to equal protection and the free exercise of their religion, have

done so with a conspiratorial purpose to so deprive them of such rights, have committed overt acts

in furtherance of the conspiracy, and have actually deprived Plaintiffs of their constitutionally

cherished liberties. See Aulson v. Blanchard, 83 F.3d 1 (1st Cir. 1996).




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               1.      Defendants entered into an agreement to violate Plaintiffs’ rights.

       There is no question that the Governor and her officials have entered into an agreement

with Defendant employers to deprive Plaintiffs of their constitutionally protected liberties. Indeed,

the Governor’s own press release announcing her mandate that all healthcare workers in Maine

receive a COVID-19 vaccine states that Defendants agree with her concerning its provisions. For

example, Defendant MaineHealth stated that it agreed with the Governor’s decision to mandate

the vaccine and prohibit religious exemptions from it. (V. Compl. ¶¶ 185-186.) Defendant

Northern Light was even more explicit in its confirmation of agreement with the Governor’s

mandate when it stated that “Governor Mills’ decision to require vaccination of health care

workers is another example of close alignment between the government and the health care

community.” (V. Compl. ¶ 187 (italics original).)

       And, if these statements of Defendants were somehow insufficient to demonstrate their

express agreement with the Governor to enforce her COVID-19 Vaccine Mandate without

providing any religious exemptions whatsoever, the actions and other statements of Defendants

confirm their agreement. MaineHealth’s agreement with the Governor to deprive Plaintiffs of their

constitutionally protected liberties is evidenced in its denial of Jane Doe 1’s request for religious

exemption and accommodation. (V. Compl. ¶ 185.) Specifically, the statement that MaineHealth

is “no longer able to consider religious exemptions for those who work in the state of Maine”

(id. and Ex. A at 2 (emphasis added)) demonstrates that MaineHealth has reached an agreement

with the Governor to refuse requests for religious exemptions based on the State’s mandate.

       These statements and actions have more than demonstrated Defendants’ agreement to

deprive Plaintiffs of their constitutionally protected liberties. “In order to maintain an action under

Section 1985, a plaintiff ‘must provide some factual basis supporting a meeting of the minds, such



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that defendants entered into an agreement, express or tacit, to achieve an unlawful end.’” Webb v.

Goord, 340 F.3d 105, 110 (2d Cir. 2003) (emphasis added) (quoting Romer v. Morganthau, 119

F. Supp. 2d 346, 363 (S.D.N.Y. 2000)). Defendants’ public representations that they are in lockstep

with the Governor in requiring Plaintiffs to receive a COVID-19 vaccine and that no religious

accommodations are available plainly demonstrates a tacit—if not express—agreement to preclude

Plaintiffs from seeking and receiving a religious accommodation to the COVID-19 Vaccine

Mandate.

               2.      Defendants acted with a conspiratorial purpose and committed overt
                       acts in furtherance of the conspiracy.

       The conspiratorial purpose of Defendants’ agreement to deprive Plaintiffs of their

constitutionally and statutorily protected rights to a religious accommodation is manifested by

Defendants’ overt acts in furtherance of the conspiratorial agreement. The Governor and her

officials engaged in an overt act in furtherance of the conspiracy by removing all religious

protections from mandatory vaccines via the agency rule change. (See, e.g., V. Compl. ¶¶ 46–49.)

Indeed, on August 14, 2021, Dr. Shah and the MCDC amended 10-144 C.M.R. Ch. 264 to

eliminate the ability of health care workers in Maine to request and obtain a religious exemption

and accommodation from the COVID-19 Vaccine Mandate. (V. Compl. ¶ 46.) The only

exemptions Maine now lists as available to health care workers are those outlined in 22 M.R.S.

§ 802.4-B, which purports to exempt only those individuals for whom an immunization is

medically inadvisable and who provide a written statement from a doctor documenting the need

for an exemption, despite the fact that the prior version of the rule permitted religious exemptions.

(V. Compl. ¶¶ 47–48.) Moreover, the Governor’s officials engaged in an overt act of denying even

consideration of religious exemptions by stating to the public that religious accommodations and




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exemptions were no longer permissible in Maine, regardless of federal law’s requirement that such

accommodations be made available to conscientious and religious objectors. (V. Compl. ¶ 49).

       Defendant employers in Maine engaged in overt acts in furtherance of their conspiratorial

purpose by falsely stating to their employees that religious exemptions, including those offered

and mandated by federal law, were inapplicable in Maine. (See, e.g., V. Compl. ¶¶ 1, 82–95.)

       Thus, Defendants have all engaged in overt acts in furtherance of their conspiracy and

conspiratorial motives by publicly stating—falsely—that no protections or accommodations are

available to those individuals who might have sincerely held religious objections to the COVID-19

Vaccine Mandate. Those statements to the public and the explicit denials of religious

exemptions to Plaintiffs on the false premise that federal protections do not apply in Maine

are overt acts in furtherance of Defendants’ conspiracy to deprive Plaintiffs of any

accommodation for their sincerely held religious beliefs to which the law entitles them.

               3.      Defendants have deprived Plaintiffs of their constitutionally protected
                       civil rights to Equal Protection and Free Exercise.

       Not only have Defendants agreed to deprive Plaintiffs of their constitutionally and

statutorily protected liberties and engaged in overt acts in furtherance of their conspiratorial

motives, Defendants have actually deprived Plaintiffs of their protected civil liberties in violation

of 42 U.S.C. § 1985(3). Indeed, Jane Doe 2 was terminated from her position for her refusal to

accept a vaccine that violates her sincerely held religious beliefs. (V. Compl. ¶ 11.) Defendants

have also informed Plaintiffs—who fortunately still have their jobs for now—that as of October

1, they will be terminated if they refuse to accept the COVID-19 vaccine regardless of their

sincerely held religious objections to it. (V. Compl. ¶¶ 82–95, 104–116.)

       Thus, because Defendants have agreed to deprive, and in fact have deprived, Plaintiffs of

their rights to accommodation of their sincerely held religious beliefs, Defendants have violated

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Section 1985(3) and must be enjoined from continuing to engage in their unlawful and

unconscionable conspiracy to deprive Plaintiffs of their protected free exercise of their sincerely

held religious beliefs.

       D.      The Governor’s Impermissible Creation of an Unprotected Class of Religious
               Objectors in the Healthcare Industry Violates Plaintiffs’ Right to Equal
               Protection.

       The Equal Protection Clause of the Fourteenth Amendment makes it unconstitutional for

any state to “deny to any person within its jurisdiction the equal protection of the laws.” U.S.

Const. amend. XIV § 1. “[T]he concept of equal protection has been traditionally viewed as

requiring the uniform treatment of persons standing in the same relation to the government action

questioned or challenged.” Reynolds v. Sims, 377 U.S. 533, 565 (1964). Indeed, when the Governor

engages in a system of systematically targeting religious objectors for disparate treatment under

Maine’s immunization laws, her actions plainly violates the Equal Protection Clause.

       The Governor’s COVID-19 Vaccine Mandate and the MCDC’s removal of religious

exemptions for healthcare workers in Maine, on their face and as applied, are each a “status-based

enactment divorced from any factual context” and “a classification of persons undertaken for its

own sake,” which “the Equal Protection Clause does not permit.” Romer v. Evans, 517 U.S. 620,

635 (1996). The Governor’s COVID-19 Vaccine Mandate, on its face and as applied, “identifies

persons by a single trait [religious beliefs] and then denies them protections across the board.” Id.

at 633. Under such a scenario, Romer demands a finding that the removal of protections that

previously existed represents per se animus in violation of the Fourteenth Amendment.

Defendants’ removal of religious exemptions from immunizations—while keeping medical

exemptions as perfectly acceptable in the healthcare field—results in a “disqualification of a class

of persons from the right to seek specific protection [for their religious beliefs].” Id. Indeed, “[a]



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law declaring that in general it shall be more difficult for one group of citizens than for all

others to seek [an exemption from the COVID-19 Vaccine Mandate] is itself a denial of equal

protection of the laws in the most literal sense.” Id. (emphasis added). The Governor’s

COVID-19 Vaccine Mandate, on its face and as applied, and the MCDC’s removal of religious

exemptions for healthcare workers, are each such a law.

II.     DEFENDANTS’ UNLAWFUL                  CONDUCT         IS    CAUSING        PLAINTIFFS’
        IRREPARABLE HARM.

        As the Supreme Court has just recently affirmed, “There can be no question that the

challenged restrictions, if enforced, will cause irreparable harm. ‘The loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury.’”

Catholic Diocese, 141 S. Ct. at 67 (emphasis added) (quoting Elrod v. Burns, 427 U.S. 347, 373

(1976)). Here, for Plaintiffs, the Governor’s COVID-19 Vaccine Mandate and its unlawful and

impermissible prohibition of religious exemptions that are required under federal law is causing

immediate and irreparable harm to Plaintiffs. Because Jane Doe 1’s request for exemption and

accommodation of her sincerely held religious beliefs has been denied by MaineHealth, Jane Doe

1 faces the unconscionable choice of accepting a vaccine that conflicts with her religious beliefs

or losing her job. (V. Compl. ¶ 104.) Jane Doe 1 will only remain employed until October 1 if she

does not violate her conscience and sincere religious beliefs and accept the Governor’s mandatory

COVID-19 vaccine. (Id.) Jane Does 3–5 all face the identical scenario: violate their sincerely held

religious beliefs by complying with the Governor’s mandate or lose their ability to feed their

families. (V. Compl. ¶¶ 105–108.) Jane Doe 2 already lost her job because she chose not to violate

her conscience, and she cannot obtain new employment in the healthcare field despite her

experience and qualifications because of the Governor’s COVID-19 Vaccine Mandate. (V. Compl.

¶¶ 5, 11, 88.)

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       Because of the Governor’s COVID-19 Vaccine Mandate, John Doe 1 faces the

unconscionable choice of violating his own sincerely held religious beliefs and accepting the

mandatory vaccine or potentially losing his practice and business license for failure to comply. (V.

Compl. ¶ 111.) And John Doe 1 also faces the unconscionable choice of refusing to grant his

employees’ requests for exemption and accommodation from the Governor’s COVID-19 Vaccine

Mandate or losing his practice and his business license. (V. Compl. ¶ 112.)

       The Governor’s mandate, which force Plaintiffs to choose between their sincerely held

religious beliefs and compliance with an unlawful edict that prohibits mandatory federal

protections, is unconscionable, unconstitutional, and unlawful. It imposes immediate and

irreparable harm on Plaintiffs each day it is permitted to continue. A TRO and preliminary

injunction are needed now to protect Plaintiffs’ cherished First Amendment liberties and the

protections afforded to them under the Constitution.

III.   PLAINTIFFS SATISFY THE REMAINING REQUIREMENTS FOR A TRO AND
       PRELIMINARY INJUNCTION.

       When Defendants impose a mandatory vaccine upon Plaintiffs and purport to strip them of

their abilities to receive exemption and accommodation for the exercise of their sincerely held

religious beliefs, courts “have a duty to conduct a serious examination of the need for such a drastic

measure.” Catholic Diocese, 141 S. Ct. at 68. And, as here, “it has not been shown that granting

the applications will harm the public.” Id. Nor could it be shown, as Plaintiffs are merely seeking

to rise each morning, don the same personal protective equipment that sufficed to make them

heroes for 18 months, and continue to provide quality healthcare to those who need it most.

Plaintiffs’ vaccination status was irrelevant for 18 months, and it is irrelevant today.

       Moreover, the State “is in no way harmed by the issuance of an injunction that prevents

the state from enforcing unconstitutional restrictions.” Legend Night Club v. Miller, 637 F.3d 291,

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302–03 (4th Cir. 2011). But, for Plaintiffs, even minimal infringements upon First Amendment

values constitute irreparable injury. Catholic Diocese, 141 S. Ct. at 67. As such, there is no

comparison between the irreparable injury suffered by Plaintiffs and the non-existent interest

Defendants have in enforcing unconstitutional mandates and depriving Plaintiffs of federally

required protections of their sincerely held religious beliefs and the exercise thereof. Absent a

preliminary injunction, Plaintiffs “face an impossible choice: [accept a vaccine] in violation of

their sincere religious beliefs, or risk [termination] for practicing those sincere religious beliefs.”

On Fire Christian Ctr., Inc. v. Fischer, 453 F. Supp. 3d 901, 914 (W.D. Ky. 2020). The TRO and

preliminary injunction should issue immediately to protect Plaintiffs’ sincerely held religious

beliefs and ensure that federal protections afforded to them are honored by Maine and the

employers located therein.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ Motion and issue a TRO and

preliminary injunction immediately. In the alternative, Plaintiffs’ request that this Court issue a

preliminary injunction pending appeal.




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                               Respectfully submitted,

     /s/ Stephen C. Whiting                   /s/ Daniel J. Schmid
     Stephen C. Whiting                Mathew D. Staver*
             ME Bar No. 559            Horatio G. Mihet*
     The Whiting Law Firm              Roger K. Gannam*
     75 Pearl Street, Suite 207        Daniel J. Schmid*
     Portland, ME 04101                LIBERTY COUNSEL
     (207) 780-0681                    P.O. Box 540774
     Email: steve@whitinglawfirm.com   Orlando, FL 32854
                                       Phone: (407) 875-1776
                                       Facsimile: (407) 875-0770
                                       Email: court@lc.org
                                       hmihet@lc.org
                                       rgannam@lc.org
                                       dschmid@lc.org
                                       *Applications for Admission pro hac vice pending


                                       Attorneys for Plaintiffs




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